                IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA



UNITED STATES OF AMERICA,                Case No. 1:24-cv-00710-WO-
et al.,                                  JLW

             Plaintiffs,                 DEFENDANT WILLOW BRIDGE
v.                                       PROPERTY COMPANY, LLC’S
                                         REPLY IN SUPPORT OF
                                         MOTION TO DISMISS
REALPAGE, INC., et al.,                  PLAINTIFFS’ AMENDED
                                         COMPLAINT
             Defendants.



       Defendant Willow Bridge Property Company, LLC (“Willow

Bridge”) submits this reply in support of its Motion to

Dismiss [Dkt. 132]. For all of the reasons set forth in the

Defendants’ Joint Motion to Dismiss, as well as the reasons

below,     Plaintiffs’     Amended    Complaint     (“FAC”)      should        be

dismissed.

       As set out in Willow Bridge’s Memorandum in support of

its Motion to Dismiss [Dkt. 139] (“Mem.”), the FAC’s specific

allegations do not support Plaintiffs’ claims against Willow

Bridge. Mem. at 3–7. Plaintiffs cannot rely on group pleading.

Id. at 4 n.2; Memorandum in support of Customer Defendants’

Motion to Dismiss (“Defs.’ Mem.”) at 13. Willow Bridge is


                                     1

     Case 1:24-cv-00710-WO-JLW   Document 150   Filed 06/26/25   Page 1 of 8
entitled to know how it allegedly conspired, as well as with

whom, when, and for what purpose. Defs.’ Mem. at 13–14,

Customer Defendants’ Reply (“Defs.’ Reply”) at 4–5 [Dkt.

148].     Plaintiffs     do      not     allege   facts      that     plausibly

demonstrate either that Willow Bridge agreed to (1) share its

detailed     lease    transaction       information    via    RealPage       with

competitors (Count 1) or (2) align prices with competitors

using RealPage’s RMS (Count 2). Without such Willow Bridge-

specific factual allegations, or any plus factors from which

an agreement can be inferred, Plaintiffs’ claims against

Willow Bridge must be dismissed.

       Count 1 Fails as to Willow Bridge

       No factual allegations tie Willow Bridge to any agreement

to    “share    its   detailed         transactional    data”       with   other

Customer Defendants, as alleged in Count 1 of the FAC. Pls.’

Opposition (“Opp’n”) at 49. Instead, Plaintiffs rely on two

generic paragraphs claiming that all Defendants – and indeed

all property managers – agreed to exchange their information

at an undisclosed time, presumptively when they licensed

RealPage’s software, even though that occurred at various

undisclosed times over years. Opp’n at 49–50 (citing FAC ¶¶



                                         2

     Case 1:24-cv-00710-WO-JLW    Document 150    Filed 06/26/25    Page 2 of 8
257, 260, 263). This is not enough. Plaintiffs neither allege

specific facts to support an agreement between Willow Bridge

and any revenue management software (“RMS”) customer, nor do

they allege any plausible agreement based on inferences or

plus factors. See Defs.’ Reply at 7–15.

       Rather, Plaintiffs point to a single paragraph alleging

Willow Bridge knew that transactional data was pooled. Opp’n

at 50 (citing FAC ¶ 19). But that paragraph cannot establish

an agreement between any other RMS customer and Willow Bridge.

At     most,      that    paragraph         relates     to    Willow      Bridge’s

contractual        agreement       with        RealPage.      And      regardless,

Plaintiffs acknowledge that RMS customers do not “get to see”

another customer’s “individual [] data” and customers only

see information that is “pooled” with their own data. Opp’n

at 5.

       Without more, the receipt of pooled data is not an

antitrust        violation,      and    Plaintiffs     allege     no    additional

facts that plausibly support an agreement between Willow

Bridge     and    any    other    RMS     customer,     let   alone     the   other

Customer Defendants. Opp’n at 7–8; see also Defs.’ Reply at

9.



                                           3

     Case 1:24-cv-00710-WO-JLW         Document 150   Filed 06/26/25   Page 3 of 8
    Finally, Plaintiffs ask the Court to infer an agreement

to share Willow Bridge’s detailed transactional data via

RealPage based on the allegation that it “shared confidential

information through meetings with other landlords.” Opp’n at

50 (citing ¶¶ 26, 88, 97, 109, 110). Upon closer inspection,

however,    these   allegations   at    most       show:   (1)   unilateral

business advice to one of Willow Bridge’s owners (FAC ¶ 26);

(2) a request for a call with other RMS users that Plaintiffs

do not allege ever happened (FAC ¶ 88); and (3) discussion in

user group meetings of market trends, none of which plausibly

create the inference of an agreement among the participants.

Id. ¶¶ 97, 109–10.

    Further, Plaintiffs do not allege that in any of the

exchanges Willow Bridge shared its “detailed transactional

data.” In fact, none of these allegations tie Willow Bridge

to any agreement, let alone an unlawful agreement to share

such data or collude on rental rates via RealPage. See Defs.’

Reply at 7–10, 13–14.

    Count 2 Fails as to Willow Bridge

    Plaintiffs claim they do not rely on Willow Bridge’s

license    of   RealPage   software    as    the    required     underlying



                                  4

  Case 1:24-cv-00710-WO-JLW   Document 150     Filed 06/26/25    Page 4 of 8
agreement needed to sustain a violation of Section One of the

Sherman Act. Opp’n at 70–71. Instead, they argue that the FAC

alleges    that   “Willow    Bridge       agreed    to    use   the       RealPage

software as intended and, therefore, it agreed to align

pricing processes, strategies, and responses.” Opp’n at 71

(citing FAC ¶¶ 28, 272).1

      Plaintiffs’ wishful and conclusory thinking, however,

cannot survive scrutiny under Twombly. As set forth in the

Customer    Defendants’     Reply,    these    paragraphs           rely    on    an

unwarranted and unsupported conclusion about the implications

of Willow Bridge’s use of RealPage’s RMS and are insufficient

to allege any agreement that Willow Bridge entered into with

any other RMS customers. See Defs.’ Reply at 21–25.

      In an effort to avoid Count 2’s fatal flaws, Plaintiffs

rely on two paragraphs in the FAC, but these reflect only

Willow     Bridge’s    unilateral         business       advice      to    owners

regarding how AIRM and YieldStar recommend prices and do not

plausibly allege even the inference of a vertical agreement

to align prices, or pricing processes, for that matter, with



1 As explained in the Customer Defendants’ Reply [Dkt. 148], Plaintiffs pivot
to recast Count 2 as challenging vertical agreements to “align pricing
processes.” Defs.’ Reply at 3, 25. But this pivot does not save their claim.


                                      5

    Case 1:24-cv-00710-WO-JLW   Document 150       Filed 06/26/25   Page 5 of 8
RealPage. Opp’n at 71 (citing FAC ¶¶ 33, 122). Likewise,

Plaintiffs’ reference to Paragraph 272 of the FAC in their

Opposition cannot save Count 2, as it neither sets forth any

agreement of any kind nor includes any specific allegation

regarding Willow Bridge.

      Because the only agreement alleged in Count 2 is Willow

Bridge’s    license    of   RealPage’s    RMS    software        –    a   widely

available    and   customizable     commercial       product         that   left

Willow Bridge with pricing discretion – it must be dismissed.

Mem. at 6.2 The mere license of RealPage’s RMS software is

simply not enough. Defs.’ Reply at 20–23; see Gibson v. Cendyn

Grp., LLC, No. 2:23-cv-00140-MMD-DJA, 2024 WL 2060260, at *6

(D. Nev. May 8, 2024).

                                  Conclusion

      Plaintiffs’ Willow Bridge-specific allegations in both

Counts 1 and 2 do not state valid claims against Willow

Bridge. Both must be dismissed.

      This 26th day of June 2025.




2
 Even Plaintiffs admit the Customer Defendants overrode prices suggested by
RealPage’s RMS more than half the time. Opp’n at 35 (citing FAC ¶ 73).


                                    6

    Case 1:24-cv-00710-WO-JLW   Document 150    Filed 06/26/25   Page 6 of 8
                  I.    CERTIFICATE OF WORD COUNT

    Counsel certifies that this brief is 1,027 words in

compliance with Local Rule 7.3(d)(1). Counsel understands

that Defendants’ briefing cumulatively is under 11,000 words,

as agreed with Plaintiffs and ordered by the Court.




                                /s/ Eric Steven Goodheart
                                Eric Steven Goodheart
                                North Carolina Bar No. NC-53476
                                DLA PIPER LLP (US)
                                4141 Parklake Avenue, Suite 300
                                Raleigh, North Carolina 27612-
                                2350
                                eric.goodheart@us.dlapiper.com
                                Tel: (919) 786-2012
                                Fax: (919) 591-0412

                                /s/ Gregory J. Casas
                                Gregory J. Casas
                                (LR 83.1(d) Counsel)
                                DLA PIPER LLP (US)
                                303 Colorado Street, Suite 3000
                                Austin, Texas 78701
                                greg.casas@us.dlapiper.com
                                Tel: (512) 457-7290
                                Fax: (512) 721-2390

                                Carsten M. Reichel
                                (LR 83.1(d) Counsel)
                                DLA Piper LLP (US)
                                500 Eighth Street, NW
                                Washington, DC 20004
                                carsten.reichel@us.dlapiper.com
                                Tel: (202)799-4640


                                  7

  Case 1:24-cv-00710-WO-JLW   Document 150   Filed 06/26/25   Page 7 of 8
                                Fax: (202)799-5640

                                Becky L. Caruso
                                (LR 83.1(d) Counsel)
                                DLA Piper LLP (US)
                                51 John F. Kennedy Parkway,
                                Suite 120
                                Short Hills, NJ 07078-2704
                                becky.caruso@us.dlapiper.com
                                Tel: (973) 520-2550
                                Fax: (973) 520-2551

                                ATTORNEYS FOR WILLOW BRIDGE
                                PROPERTY COMPANY, LLC




                     CERTIFICATE OF SERVICE
    I hereby certify that on this 26th day of June 2025, I

filed the foregoing document titled DEFENDANT WILLOW BRIDGE

PROPERTY COMPANY, LLC’S REPLY IN SUPPORT OF MOTION TO DISMISS

PLAINTIFFS’ AMENDED COMPLAINT using the Court’s CM/ECF system

which will send notification to all counsel of record.

                                      /s/ Eric Steven Goodheart
                                      Eric Steven Goodheart




                                  8

  Case 1:24-cv-00710-WO-JLW   Document 150   Filed 06/26/25   Page 8 of 8
